                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

In re: Michael G. Dombrowski,                )             Case No.: 16-81412-CRJ-11
       SSN: xxx-xx-4413                      )
                                             )
               Debtor.                       )             CHAPTER 11
                                             )

                               FINAL APPLICATION FOR
                         APPROVAL OF DEBTOR’S ATTORNEY FEES

       COMES NOW Michael G. Dombrowski, as Chapter 11 Debtor (the “Debtor”), and
Sparkman, Shepard, and Morris P.C., as Debtor’s court-approved counsel (the “Debtor’s
Attorneys”), in conformity with 11 U.S.C. § 330 and FRBP Rule 2016(a), and respectfully show this
Court as follows:

       1.      In this case, the Court has previously approved the following interim applications for
fees and expenses of the Debtor’s Attorneys (the “Approved Interim Fee Applications”):

   Approval Date          Period                 Fees             Expenses        Total Due

     08/25/2016     03/02/16 – 07/08/16      $21,093.50       $ 1,938.26         $23,031.76
     10/20/2016     07/11/16 – 07/30/16      $10,252.50       $    325.00        $10,577.50

     Total                                   $31,346.00        $2,263.26         $33,609.26
     Payments to Date                            100%              100%          $33,609.26

        2.     On July 21, 2016, this Court granted the Debtor’s Motion to Fix Procedure for
Periodic Interim Allowance of Compensation and Reimbursement of Expenses for Chapter 11
Attorneys and on October 21, 2016, this Court amended its July 21, 2016 Order, establishing a
Monthly Fee Notice procedure. Following is a list of the Notices of Monthly Compensation and
Reimbursement of Expenses for Chapter 11 Debtors’ Attorneys in this case which have not come
before this Court for approval on an interim basis:

   Notice Date            Period                 Fees             Expenses        Total Due

   10/31/2016        August 2016             $22,691.50       $    202.75        $22,894.25
   11/09/2016        September 2016          $22,156.00       $    135.10        $22,291.10
   11/28/2016        October 2016            $33,922.50       $      0.00        $33,922.50




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   04/11/2017         November 2016          $25,580.00        $   737.68       $26,317.68
   04/11/2017         December 2016          $14,921.00        $        1.99    $14,922.99
   04/11/2017         January 2017           $18,079.00        $        0.00    $18,079.00
   04/11/2017         February 2017          $10,678.50        $ 2,602.05       $13,280.55
   04/18/2017         March 2017             $12,521.00        $    67.76       $12,588.76
   08/08/2017         April 2017             $ 9,683.50        $   115.25       $ 9,798.75
   08/08/2017         May 2017               $ 7,947.50        $   674.97       $ 8,622.47
   08/08/2017         June 2017              $12,237.50        $   126.96       $12,364.46
   08/16/2017         July 2017              $15,923.50        $ 1,070.13       $16,993.63
   12/22/2017         August 2017            $24,999.50        $ 1,023.42       $26,022.92
   12/22/2017         September 2017          $ 7,600.50       $    83.63       $ 7,684.13

   Total                                    $238,941.50         $6,841.69      $245,783.19
   Payments to Date                                   80%          100%        $197,994.89
   Payment Amounts Held Back by the                   20%               0%      $47,788.30
   Debtor Pending Final Court Approval

       3.      To date, no party has objected to Monthly Fee Notices or to the Debtor’s Attorneys’
approved Interim Fee Applications.

       4.      The Debtor’s Attorneys have now performed all services on behalf of the bankruptcy
estate for which they request compensation and reimbursement of expenses.

       5.      The Debtor and the Debtor’s Attorneys request that this Court approve final
compensation to the Debtor’s Attorneys in the amount of $270,287.50 and reimbursement of
expenses in the amount of $9,104.95 for services rendered to the Debtor’s estate between March 2,
2016 and September 30, 2017.

       WHEREFORE, the Debtor and the Debtor’s Attorneys respectfully request that the Court
enter an Order: approving final compensation to the Debtor’s Attorneys in this matter in the amount
of $270,287.50 and reimbursement of expenses in this matter totaling $9,104.95; and granting such
further relief as this Court deems just and proper.

       Respectfully submitted this the 9th day of May, 2019.

                                             /s/ Tazewell T. Shepard
                                             Tazewell T. Shepard III
                                             Tazewell T. Shepard IV
                                             Attorneys for the Debtor




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                                            SPARKMAN, SHEPARD & MORRIS, P.C.
                                            P. O. Box 19045
                                            Huntsville, AL 35804
                                            Tel: 256/512-9924
                                            Fax: 256/512-9837


                                  CERTIFICATE OF SERVICE

       This is to certify that this the 9th day of May, 2019, I have this day served the foregoing
motion on all parties requesting notice, all parties listed on the Clerk’s Certified Matrix and Richard
Blythe, Office of the Bankruptcy Administrator, by electronic service through the Court’s CM/ECF
system and/or by placing a copy of same in the United States Mail, postage pre-paid.

                                            /s/ Tazewell T. Shepard
                                            Tazewell T. Shepard




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